@ OD GEG

Fill in this information to identify your case:

 

United States Bankruptcy Court for the: | F | L E D :

Wester District of Washington :
PR-1 AMIN: 55

a

| Case number (if known): Chapter you are filing under:
Chapter 7
QC] Chapter 11
CJ) Chapter 12

| BANKRUPTCY COURT ‘
.E ' AT
Q) Chapter 13 t
¥

TUE) check if this is a
BEP. OL amended filing

*

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 1217

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you_own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and

Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your tami :
government-issued picture Benjamin Nicole
identification (for example, First name First name
your driver's license or —Thomas-Kennedy Pp. { Fhomas=Kermedy S UZAW NZ
passport). Middle name : Middle name
Bring your picture Raul - Suzanne | bowed Karwedly =
identification to your meeting = Last name Last name /
with the trustee.
‘ Suffix (Sr., Jr, U, UD Suffix (Sr., Jr. I, 1)
2. All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security mx - xX- _ 7 1 4 6 wx — xx-_ 3 _8 _5 9
number or federal OR OR
Individual Taxpayer
Identification number 9x - x -_ 9xx - xK -_
(ITIN)
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 1 of 63
Debtor 1

First Name Middle Name

Benjamin Paul Thomas-Kennedy

Last Name

Case number (if known)

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

"| | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

di | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN”

EN

Business name

EIN

EIN

 

5. Where you live

1206 East Jefferson

 

Number Street

#402

If Debtor 2 lives at a different address:

 

Number Street

 

 

Seattle Wa
City State

98122
ZIP Code

King

 

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

City State ZIP Code

 

County

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

a Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ i have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 US.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 2 of 63

 
Debtor 1

First Name

Last Name

Benjamin Paul Thomas-Kennedy

Middle Name

ee the Court About Your Bankruptcy Case

7.

sesso

8.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Case number (if known)

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7

L] Chapter 11
L) Chapter 12
Q) Chapter 13

 

eet

How you will pay the fee

 

ee Pe ect UE Tas eee ey

 

4 i will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

CJ I need to pay the fee in installments. if you choose this option, sign and.attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

(1) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

9. Have you filed for W No
bankruptcy within the
last 8 years? QO Yes. District When Case number
MM/ DD /YYYY
District When Case number
MM / DD /YYYY
District When Case number
MM/ DD /YYYY
10. Are any bankruptcy No
cases pending or being
filed by a spouse who is L) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM /DD/YYYY
11. Do you rent your LINo. Goto line 12.
i ? : ae: .
residence? Q Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

Case 19-11190-TWD

1 No. Go to line 12.

Q) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy

page 3

Doc1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 3 of 63
, © 9

Debtor 1 Benjamin Paul Thomas-Kennedy Case number (if known),

 

First Name Middle Name Last Name

ar Report About Any Businesses You Own as a Sole Proprietor

 

_ 12. Are youa sole proprietor (Q No. Goto Part 4. ,
of any full- or part-time
business? CI Yes. Name and location of business

A sole proprietorship is a
business you operate as an - -
individual, and is not a Name of business, if any
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

 

lf you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

 

to this petition. City State ZIP Code
Check the appropriate box to describe your business:
C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))
C] Commodity Broker (as defined in 11 U.S.C. § 101(6))
CL) None of the above
43, Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor? Qno. 1 t filing under Chapter 11
. 1am not filing under .
For a definition of small ing under Sapien
business debtor, see LY No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). . the Bankruptcy Code.

(J Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any No
property that poses or is ;
alleged to pose athreat U1 Yes. Whatis the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs lf immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

 

 

Number Street
City State ZIP Code
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 4 of 63
Benjamin Paul Thomas-Kennedy

First Name Middie Name Last Name

Case number (if known),

_Debtor 1

oa Explain Your Efforts to Receive a Briefing About Credit Counseling

 

45. Tell the court whether About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
you have received a
briefing about credit You must check one: You must check one:

counseling.

The law requires that you
receive a briefing about credit
counseling before you file for.
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

bd I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and ! received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

U2 f received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

L) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file. .
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ 1am not required to receive a briefing about
credit counseling because of:

Q Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q) Disability. |My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

Q) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuats Filing for

dl i received a briefing from an approved credit
counseling agency within the 180 days before |
fited this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CY i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion. :

Within 14 days after you file this bankruptcy petition, |
you MUST file a copy of the certificate and payment
plan, if any. :

L) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you |
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

LJ |. am not required to receive a briefing about
credit counseling because of:

LJ Incapacity. 1! have a mental illness or a mental |
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LJ Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

CI Active duty. | am currently on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a i
motion for waiver of credit counseling with the court.

Bankruptcy page 5

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Debtor 4 Benjamin Paul Thomas-Kennedy

First Name Middle Name

Case number (if known).
Last Name

| Part 6: | Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

CJ No. Go to line 16b.
( Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

WZ No. Go to line 16c.
CJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.
Student Loans

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

OQ) No. Iam not filing under Chapter 7. Go to line 18.

Wi Yes. 1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and Wi No
administrative expenses
are paid that funds will be UI Yes
available for distribution
to unsecured creditors?
18. How many creditorsdo 1-49 Q) 1,000-5,000 C) 25,001-50,000
you estimate that you C) 50-99 Q) 5,001-10,000 (] 50,001-100,000
owe? L) 100-199 CL) 10,001-25,000 (J More than 100,000
L) 200-999
19. How much do you  $0-$50,000 LI $1,000,001-$10 million [J $500,000,001-$1 billion

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

lige Sign Below

For you

LJ $50,001-$100,000
LJ $100,001-$500,000
{J $500,001-$4 million

CJ $0-$50,000

LI $50,001-$100,000
Z $100,001-$500,000
CJ $500,001-$1 million

LI $10,000,001-$50 million
LY $50,000,001-$100 million
(C $100,000,001-$500 million

LI $1,000,001-$10 million

LJ $10,000,001-$50 million
CQ $50,000,001-$100 million
LJ $100,000,001-$500 million

CI $1,000,000,001-$10 billion
(1 $10,000,000,001-$50 billion
L) More than $50 billion

CI $500,000,001-$1 billion

C3 $1,000,000,001-$10 billion
LJ] $10,000,000,001-$50 billion
() More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, sp

| understand making a false statement, concealing property, or obtaining
with a bankruptcy case can result in fines up to.$250,000, or imprisonm
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x

 

——

Signature of Debtory1

Executed on

 

 

 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy

7H

Executed on

 

re of Debtor,

cified in this petition.

  

¥ or property by fraud in connection

fet up to 20 years, or both.

ee

  

 

 

page 6

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Debtor 1 Benjamin Paul Thomas-Kennedy Case number (i known)

 

First Name Middle Name Last Name

 

 

I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
: the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
: If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

For your attorney, if you are
represented by one

 

 

 

 

 

 

- need to file this page. x
Date
Signature of Attorney for Debtor MM / ODD IYYYY
Printed name
Firm name
Number Street
City : State ZIP Code

Contact phone Email address

 

 

Bar number State

 

Official Form 101 Voluntary Petition for Individuais Filing for Bankruptcy page 7

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Debtor 1 Benjamin Paul Thomas-Kennedy Case number (if known).
First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
_ attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
_ If you are represented by
_ an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

yw Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

UL] Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankru ¥ case without an
attorney may cause me to lose my rights or property if 1 do not properly Mandie the case.

 

 

 

 
     
      

sPrpyke of Debtor 2
32/5 20 7

Myi/ DB IYYYY

Date

 

 

 

 

 

Contact phone
Cell phone

“ :
Email address Nicole 7 Teanes —_ [Lon 4

Official Form 101 , Voluntary Petition for Individuals Filing for Bankruptcy page 8

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 8 of 63
Fill in this information to identify your case:

Debtor 1

i apie id i: Last Name
Debtor 2 Co - Ss
(Spouse, if filing) FirstName Middle Name Last Name

United States Bankruptcy Court for the: N District of Wos; .

 

Case number LJ Check if this is.an
{if known) amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 125
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

i
:
i
:
|
|
:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your assets i
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B) 0.00
: 4a. Copy line 55, Total real estate, from SCHECUIC A/B...c..ccccsccesssecssssssesesssessseesueeseccerecsessneseenuesseveseeraesuessasssesssussusesesssenss $I
| 4b, Copy line 62, Total personal property, from Schedule A/B...csccccscssssvsssssssssssssssnssssnetssensvisesesunestessiuesetiaesevnesitnee $ 33,600.55
|
1c. Copy line 63, Total of all property on Schedule A/B oo... ees cece eccenscsesecsecsneeeesseseeaeeeseeeecasaannenessenepasaenenscestsenenteetaseenes $ 33,600.55
Summarize Your Liabilities
Your liabilities
: Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 0.00
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ se
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F uw... secretes tstareeesienes $____SAe i
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ou... ese erence + 5 465,989.14
| |
Your total liabilities | 5___465,989.14 |
i |
ERED summarize Your Income and Expenses : i
! |
| 4. Schedule I: Your Income (Official Form 1061) 5.519.40 i
Copy your combined monthly income from line 12 Of Schedule [aoc cece cece eeeeceeeeeeeeeenneeeeeeenesaesaerneneseeeenesnasaetianeaeaee s_ooisveer
|
| §. Schedule J: Your Expenses (Official Form 1064) 4576.00 |
i Copy your monthly expenses from line 22c Of Schedule J .........ccccccceeccecceeceesneennecseeeececcneneteneneee tee eeaseaaddeaecaesneeeeneseeaaseeenaeces $_ eee ee i
: :
| |
: ct oe oe ea en ck se mn nn tna ood
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 9 of 63

 
Debtor 4 Besta r Theas—Vo Speck Case number (if known)

First Name QJ Middle Name Last Name }

| Part a: | Answer These Questions for Administrative and Statistical Records

 

| 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

| UL) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Ww Yes

 

 

“asses

 

 

; 7. What kind of debt do you have?

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

LJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

|
|
| wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
i .
i this form to the court with your other schedules.

 

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 6,678.98

 

 

 

 

 

 

eas so cane Ee a ee swe EES S

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

N

|
|
i
i
i
i
i
i

 

 

 

 

 

 

 

 

 

 

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) s_s——Ci«i20

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) ‘ sO.
. . . wy . 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
: 9d. Student loans. (Copy line 6f.) g___—- 401,134.00
: Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
I priority claims. (Copy line 6g.) a
| 9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +3 0.00
‘9g. Total. Add lines 9a through $f. $ 401,134.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 10 of 63
Fill in this information to identify your case andi this filing:

Debtor 1 Benjamin Paul Thomas-Kennedy

 

First Name Middle Name Last Name

Debtor 2 Nicole Suzanne Thomas-Kennedy

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Western District of Washington

Case number t

LI Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property | 1218

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

Z

' 14, Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

W No. Go to Part 2.
LJ Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

QO) Single-family home the amount of any secured claims on Schedule D:
1.1. Creditors Who Have Claims Secured by Property.

QI dup! Iti-unit buildi
Street address, if available, or other description uplex or multi-unit building

 

 

 

 

 

 

 

C) Condominium or cooperative , Current value of the Current value of the ‘
L) Manufactured or mobile home entire property? portion you own?
( Land $ $
L) investment property
—— () Timeshare _ Describe the nature of your ownership
City State ZIP Code Q oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
LJ Debtor 1 only

County / LJ Debtor 2 only

Q] Debtor 1 and Debtor 2 only L] Check if this is community property
. see instructions

(J At least one of the debtors and another ( t )

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
) Single-family home the amount of any secured claims on Schedule D:

1.2. Creditors Who Have Claims Secured by Property.

 

Street address, if available, or other description Duplex or multi-unit building

 

 

 

 

 

 

 

CJ Condominium or cooperative Current value of the Current value of the -
CJ Manufactured or mobile home entire property? portion you own?
CJ Land $ $
C) investment property . : : h
: Describe the nature of your ownership

City State ZIP Code LI Timeshare interest (such as fee simple, tenancy by
C] other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
CJ Debtor 4 only

County Q} Debtor 2 only
L) Debtor 1 and Debtor 2 only L} Check if this is community property
L] At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:

Official Form 106A/B Schedule A/B: Property page 1

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Debtor1 | Benjamin Paul Thomas-Kennedy Case. number (known)
First Name Middie Name Last Name
. What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
(J Single-family home : the amount of any secured claims on Schedule D:
1.3. : 9 ¥ J oo Creditors Who Have Claims Secured by Property.
Street address, if available, or other description C) Duplex or multi-unit building be ” moan te i
O) Condominium or cooperative Current value of the Current value of the :
entire property? portion you own?

(Manufactured or mobile home

(J Land § §

 

 

(J investment property

 

City State ZipCode ©] Timeshare Describe the nature of your ownership
oO interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.

C} Debtor 1 only
C) Debtor 2 only

 

County

(CJ Debtor 1 and Debtor 2 only (C} Check if this is community property

() At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
: you have attached for Part 1. Write that number here. ...............ccccccceeccccseceseeesecceesessseuseeceeaeeaeusessuaseaneetsoaneees >

 

0.00

 

         

Describe Your Vehicles

’ Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
_ you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

LI) No
Wi Yes
3.1. Make: Chevy Who has an interest in the property? Check one. —_ not deduct secured claims or exemptions. Put
. the amount of any secured claims on Schedule D:
Model: Malibu U1 Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2008 (J Debtor 2 only oe a ¥
car. —— W debtor 1 and Debtor 2 only Current value of the “Current value of the |

; , . 150,000
Approximate mileage: _(V™s~™™ (CJ At least one of the debtors and another

Other information:

 

entire property? portion you own?

 

 

 

 

oa . $ 2,000.00 sg  ~ 2,000.00 :
L] Check if this is community property (see .
instructions) 3
If you own or have more than one, describe here:
3.2. Make: Who has an interest in the property? Check one. —_Do not deduct secured claims or exemptions. Put
QO the amount of any secured claims on Schedule D:
Model: Debtor 1 only

LI) Debtor 2 only ;
LY Debtor 1 and Debtor 2 only °
CL) At least one of the debtors and another

 

Year:
Approximate mileage:

Other information:

 

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

LI] Check if this is community property (see § 8
instructions)
Official Form 106A/B Schedule A/B: Property page 2

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Debtor? Benjamin Paul Thomas-Kennedy Case number (irkrown)

 

 

   

 

 

 

 

 

 

 

First Name Middle Name Last Name
3.3, Make: Who has an interest in the property? Check one. _o not deduct secured claims or exemptions. Put
Q Debtor 4 onl the amount of any secured claims on Schedule D:
Model: ebtor | only Creditors Who Have Claims Secured by Property.
. Q) Debtor 2 only we Peers *
Year: O Debtor 4 and Debtor 2 only Current value of the “Current value of the
: ; . entire property? portion you own?
Approximate mileage: LJ At least one of the debtors and another Properly ¥
Other information:
L] Check if this is community property (see $ $
instructions)
3.4, Make: . Who has an interest in the property? Check one. —_9 not deduct secured claims or exemptions. Put
O Debtor 1 on! the amount of any secured claims on Schedule D:
Model: . ebtor | only Creditors Who Have Claims Secured by Property.
Year: L] Debtor 2 only . 5
, QO Debtor 1 and Debtor 2 only Current value of the Current value of the :
Approximate mileage: (J) At least one of the debtors and another : :
Other information:
L} Check if this is community property (see $ $

instructions)

 

 

 

_ 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing. vessels, snowmobiles, motorcycle accessories

W No

L) Yes
4.1. Make: Who has an interest in the property? Check one. —_9 not deduct secured claims or exemptions. Put
Op btor 1 onl the amount of any secured claims on Schedule D:
Model; —o entor t only Creditors Who Have Claims Secured by Property.
Year: CQ) Debtor 2 only

 

Q) Debtor 1 and Debtor 2 only Current value of the Current value of the :

 

 

 

 

 

 

Other information: (J At least one of the debtors and another entire property? portion you own?
LJ Check if this is community property (see $ $
instructions)
If you own or have more than one, list here:
4.2. Make: Who has an interest in the property? Check one. —_ not deduct secured claims or exemptions. Put
C) Debtor 4 on! the amount of any secured claims on Schedule D:
Model: ebtor | only Creditors Who Have Claims Secured by Property.
L) Debtor 2 only
Year:

Current value of the Current value of the

U Debtor 1 and Debtor 2 only entire property? portion you own?

Other information: (1 At least one of the debtors and another

 

(J Check if this is community property (see
instructions)

 

 

 

   

2,000.00

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that mumber Were oo... ccccecccsssssessesessesssscessssensscessseseeessuesesseesssesseeseaseaeeneaees Leseeesseeeee >
Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 Benjamin Paul Thomas-Kennedy Case number (known)

First Name Middle Name Last Name

SS Describe Your Personal and Household Items

. Do you own or have any legal or equitable interest in any of the following items?

 

: 6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONo °

Current value of the

. portion you own?

Do not deduct secured claims -
or exemptions. f

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

W Yes. Describe......... Furniture: two ikea beds ($100.00)older couch ($50.00) and 2 chairs (35.00) | $ 200.00 -
bookshelf, metal_rack(15)
. 7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
LI No :
_ Yes. Describe........ | Used electronics: 2014 Television ($250) 2 Older MacBook Air ($600) 1 !Phone | $ 1,000.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
UL No
7 art . ;
Yes. Describe.......... Antique Afghan rug $ 400.00
: Lecation:-1206-E-Jdefferson #402,-Seattle- Washington; 98422
9. Equipment for sports and hobbies ,
‘ Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
LC) No
Md Yes. Describe... Used: Drumset ($600) Guitar ($700) Bass Guitar ($700) old piano $300) $ 2,300.00 :
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
i No
CJ Yes. Describe.......... $
- 11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
LC] No :
Yes, Describe.......... Mostly thrift-store everyday clothes and shoes, women's suits and new shoes | $ 700.00 :
for-work:
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
No 50.00
. ibe.......... . . : $ : .
Kd Yes. Describe two stainless steel wedding bands. Location 1206 E. Jefferson #402, Seattle We :
13. Non-farm animals
Examples: Dogs, cats, birds, horses
4 No
C) Yes. Describe.......... $
14. Any other personal and household items you did not already list, including any health aids you did not list
\4 No
L} Yes. Give specific $
information. .............

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

$ 4,650.00

 

for Part 3. Write that mumber Were ooo... cccecccssessseeccssseessssssesssssesssuvessssueccesvsesnssussssssessnsesssiesssnisesstessrsneeesrsneeeeseeeesn >

Official Form 106A/B Schedule A/B: Property
Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg

page 4
. 14 of 63

 
Debtor 1 Benjamin Paul Thomas-Kennedy Case number (if known)

First Name Middle Name Last Name

a Describe Your Financial Assets

: Do you own or have any legal or equitable interest in any of the following?

 

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: 16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
UL) No
“ VES ieee ccc cscs sesseseasesesceseseseseseasessscssucucssaversevevsassassssneasavaseusavavavsstavsueseareevavevavsetavaveeneseeavavsvensesineusesstseseatese CASH: .occccccccccceccessceee $ 43.00
: 17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
LJ No
DD Ves oes Institution name:
17.1. Checking account: Bank of America $ 141.26
17.2. Checking account: BECU $ 607.44
17.3. Savings account: Bank of America $ 141.09
17.4. Savings account: BECU $ 0.00
17.5. Certificates of deposit: $
17.6. Other financial account: $
47,7. Other financial account: $
‘17.8. Other financial account: $
17.9. Other financial account: $
. 18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
i No
i Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
4 No Name of entity: % of ownership:
CI Yes. Give specific 0% %
information about .
TheM. 0... eee 0% %
0% %
Official Form 106A/B Schedule A/B: Property page 5

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Debtor 1 Benjamin Paul Thomas-Kennedy

First Name Middle Name Last Name

Case number (if known).

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

WI No -

CL) Yes. Give specific Issuer name:
information about
HNEM..... eee $

 

 

 

. 21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

C2 No
Wi Yes. List each

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: PERS - state retirement plan $ 26,950.55
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

C] No

QD Ves on ccccccscceueen Institution name or individuai:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit, Apartment $ 500.00
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A coniract for a periodic payment of money to you, either for life or for a number of years)
Wi No oo
ee Issuer name and description:
$
$
Official Form 106A/B Schedule A/B: Property page 6

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Debtor 1 Benjamin Paul Thomas-Kennedy Case number (if known),

First Name Middle Name Last Name

- 24.Interests in an education IRA, inan account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

WI No
C Yes

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

, 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Wi No

LI} Yes. Give specific
information about them... $

 

 

 

 

: 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
: Examples: \Internet domain names, websites, proceeds from royalties and licensing agreements

4 No

CL) Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
: Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

W No

L] Yes. Give specific
information about them.... ~ $

 

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

. Money or property owed to you?

| 28. Tax refunds owed to you
WI No

L Yes. Give specific information
about them, including whether .
you already filed the returns State: “
and the tax years. oo. ee

 

Federal:

Local:

 

 

 

- 29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

WY No

 

 

 

 

 

 

 

 

L) Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
W No /
C) Yes. Give specific information.............
. $
Official Form 106A/B Schedule A/B: Property page 7

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Debtor 1 Benjamin Paul Thomas-Kennedy

Case number (if known),
First Name Middle Name Last Name

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’, or renter’s insurance
No

CI Yes. Name the insurance company

, 7 Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

\

 

‘ 32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

A No

LJ Yes. Give specific information..............

 

 

 

 

" 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

W No

C] Yes. Describe each claim...

 

 

 

 

: 34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

(a No

CY Yes. Describe each claim. «20...

 

 

 

 

‘ 35. Any financial assets you did not already list

W No

L) Yes. Give specific information............

 

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here ooo... ccc essssssssssecsessseesecosseesssostmmiessesstisvsressivesserasuneestasinasssessuessessuiasessansuvesecesansaseceessunveeee > s__-28, 383.34

 

 

 

 

EE vescrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
(No. Go to Part 6.
CI Yes. Go to line 38. _

Current value of the
portion you own?

Do not deduct secured claims ~

or exemptions.

38. Accounts receivable or commissions you already earned

a No
LJ Yes. Describe...... .

 

 

 

. 39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

(A No
LI Yes. Describe.......

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
Case 19-11190-TWD Doci Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 18 of 63
Debtor1 Benjamin Paul Thomas-Kennedy

Case number (if known)
First Name Middle Name Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

P| No
CL] Yes. Describe....... 8
41. Inventory
(Wd No
LJ Yes. Describe....... s
*

 

 42.{nterests in partnerships or joint ventures

Wl No
LI Yes. Describe.......

 

 

Name of entity: % of ownership:
% $
% $
% $

 

’ 43, Customer lists, mailing lists, or other compilations
Wd No
Q) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
No
L) Yes. Describe........

 

 

 

 

44. Any business-related property you did not already list
WA No

LI) Yes. Give specific
information .........

 

 

 

 

 

PF Ff Ff HF HF

 

 

_ 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that mumber Were oo ccc ccc cccceeeccssseesssseecassessosssecsssssesssseecsnscessunecssnsesessssseesunecsanesesssecesnasesgenetensnaneesnneess > re

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Related Property‘ You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
QA No. Go to Part 7.
LI Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claim:
or exemptions. :
47. Farm animals

Examples: Livestock, poultry, farm-raised fish

| , bd No

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

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Debtor 1

Benjamin Paul Thomas-Kennedy

 

First Name

Middle Name

4g. Crops—either growing or harvested

W No

UO) Yes. Give specific
information. ............

49. Farm and fishing equ

WY No

Last Name

Case number (if known).

 

 

ipment, implements, machinery, fixtures, and toois of trade

 

 

 

 

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list

W No

LI Yes. Give specific
information. ............

- 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here

 

 

 

 

$ 0.00

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

' 53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

W No

LI) Yes. Give specific
information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number here

 

 

 

 

ee us the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2

56. Part 2: Total vehicles, line 5

57. Part 3: Total personal and household items, line 15

. 58.Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45

 

0.00

 

 

 

0.00

5 __ 2,000.00

5 __ 4,650.00

$ 26,950.55

60. Part 6: Total farm- and fishing-related property, line 52 $.

61. Part 7: Total other property not listed, line 54

62. Total personal property. Add lines 56 through 61. .............. a $.

63. Total of all property on Schedule A/B. Add line 55 + line 62

Official Form 106A/B

t$

0.00
0.00

0.00

 

 

33,600.55

 

Copy personal property total > + g __ 33,600.55 _

 

Schedule A/B: Property

 

$ 33,600.55

 

 

 

page 10

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Fillin this information to identify your case:

Debtor 4 Benjamin Paul Thomas-Kennedy

 

First Name Middle Name Last Name

Debtor 2 Nicole Suzanne Thomas-Kennedy

(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Western District of Washington

Case number C) Check if this is an
{If known) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known). ,

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing So is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory fimit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

RE tcontity the Property You Claim as Exempt

‘1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

uw You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
soseription: 2008 Chevy Malibu — $2,000.00 Os . 6.15.010(1)(d)(iii)
Line from i 100% of fair market value, up to
Schedule A/B: 3.1 any applicable statutory limit
Sccription: © -Eumniture ___—»-$ 200.00 Os 6.15.010(1)(d)(i)
; 4 100% of fair market value, up to
Line from 6 ,
Schedule A/B: any applicable statutory limit
description: Electronics ss § 1,000.00 Os 6.15.010 (1)(c)
Line from 4 100% of fair market value, up to

 

Schedule A/B: 7. any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

Wf No
CJ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

WM No

C) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 21 of 63
Debtor 1

First Name Middle Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from 8
Schedule A/B:

Brief
description:

Line from 9
Schedule A/B:

Brief

ae Clothes
description:

Line from 11
Schedule A/B: ~—

Brief
description:

12

Line from
Schedule A/B:

Brief
description:
Line from 24
Schedule A/B: ———
Brief
description:
Line from 22
Schedule A/B: ~~
Brief
description:
Line from
Schedule A/B:

Brief
description:

17

Line from
Schedule A/B:

Brief
description:

Line from
Schedule AB:

Brief
description:

Line from
Schedule A/B: —

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Antique Rug $

Wedding bands $

Retirement Account $

Apartment Deposit $

Deposits of Money

Case 19-11190-TWD

Benjamin Paul Thomas-Kennedy

Last Name

Current value of the
portion you own

Copy the value from
Schedule A/B

400.00

2,300.00

§ 700.00

50.00

26,950.55

Case number (if known)

Amount of the exemption you claim

Check only one box for each exemption

Lis

Wl 100% of fair market value, up to
any applicable statutory limit

Cig

LA 100% of fair market value, up to
any applicable statutory limit

Os
FI 100% of fair market value, up to
any applicable statutory limit

Os
(A 100% of fair market value, up to
any applicable statutory limit

Ws 26,950.55

 

500.00

§ 889.79

LJ 100% of fair market value, up to
any applicable statutory limit

Ms 500.00

LI 100% of fair market value, up to

any applicable statutory limit _

Ms 889.79
3 400% of fair market value, up to

Specific laws that allow exemption

6.15.010(1)(d)(i)

6.15.010(1)(d)i)

6.15.010(1)(a)

 

6.15.010(1)(a)
6.15.020(2); 41.40.052
6.15.010(1)(d)ii)

6.15.010(1)(d)(ii)(A)

any applicable statutory limit

Ls
(J 100% of fair market value, up to
any applicable statutory limit

Os
LJ 100% of fair market value, up to
any applicable statutory limit

Lis

C] 100% of fair market value, up to
any applicable statutory limit

Cis

LJ 100% of fair market value, up to
any applicable statutory limit

Us
LJ 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

 

 

page 2 of __

Doc1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 22 of 63
Fill in this information to identify your case:

Benjamin Paul Thomas-Kennedy

Middle Name

Debtor 2 Nicole Suzanne Thomas-Kennedy

(Spouse, if filing) First Name Middle Name

Debtor 1

 

First Name Last Name

 

Last Name
United States Bankruptcy Court for the: Western District of Washington

Case number
(If known)

 

LY Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do any creditors have claims secured by your property?
Qi No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
CI Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. ‘If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

ra]

 

Describe the property that secures the claim: $ $ $.

 

 

Creditors Name

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
) Contingent
UI Untiquidated

City State ZIP Code

QO Disputed

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

O COOO

Check if this claim relates to a
community debt

Date debt was incurred

Nature of lien. Check all that apply.

C An agreement you made (such as mortgage or secured
car loan)

oO Statutory lien (such as tax lien, mechanic’s lien)

Q Judgment lien from a lawsuit

CQ other (including a right to offset)

Last 4 digits of account number ___

 

Pa]

 

Creditor's Name

Describe the property that secures the claim:

 

 

Number Street

 

 

 

 

 

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

O Oooo

Check if this claim relates to a
i community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.
QO Contingent

(J Unliquidated

) Disputed

Nature of lien. Check all that apply.

Qi An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s lien)
Judgment lien from a lawsuit

Other (including a right to offset)

Ooo

Last 4 digits of account number —__

 

 

Add the dollar value of your entries in Column A on this page. Write that number here:

-——__]

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page tof____

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 23 of 63
Fill in this information to identify your case:

Debtor 1

Benjamin Paul Thomas-Kennedy

 

First Name Middle Name

Nicole Thomas-Kennedy

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

Last Name

United States Bankruptcy Court for the: Western District of Washington

Case number

 

{If known)

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

LU] Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

} Part 4: | List All of Your PRIORITY Unsecured Claims

 

Wl No. Go to Part 2.
Q) Yes.

 

 

 

 

 

 

1. Do any creditors have priority unsecured claims against you?

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for éach claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim: here and show both priority and

- nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have’ more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

2.1
Last4 digits ofaccountnumber_ tsi § $.
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
City State ZIP Code Q Contingent
) Unliquidated
Who i h ?
0 incurred the debt? Check one. disputed
U) Debtor 1 only
C) Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C2 Domestic support obligations
Atleast one of the debtors and another () Taxes and certain other debts you owe the government
C1 Check if this claim is for a community debt C} Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
QO] No C} other. Specify
U) Yes
22 | Last 4 digits of account number —___ _ss'=5g $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
ontingent
Q) Conti
City State ZIP Code QO) unliquidated
Who incurred the debt? Check one. C1 Disputed
CQ) Debtor 1 ont .
Sonor ony Type of PRIORITY unsecured claim:
C) Debtor 2 only ;
Q] Debtor 1 and Debtor 2 only {) Domestic support obligations
O) Atleast one of the debtors and another CJ Taxes and certain other debts you owe the government
se an: : C) Claims for death or personal injury while you were
CQ] Check if this claim is for a community debt intoxicated pe my y
Is the claim subject to offset? C) Other. Specify
CI} No
C) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of
Case 19-11190-TWD Doci Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 24 of 63

 
Debtor 1 Benjamin Paul rhomal ennedy Case number (if inown)

 

First Name Middle Name Last Name

Part 4: fl Your PRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Fetal claim

 

Saag
bg

=

priority iy

Wij) ee neg.

  
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number § s
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code QO) unliquidated
O Disputed
Who incurred the debt? Check one.
C) Debtor 4 only Type of PRIORITY unsecured claim:
O Deb
ebtor 2 only QO) Domestic support obligations
CD Debtor 1 and Debtor 2 only .
) Taxes and certain other debts you owe the government
U) Atleast one of the debtors and another . a .
Q) Claims for death or personal injury while you were
C) Check if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
C1 No
QC) Yes
Last 4 digits of account number $ § 8
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent
City State ZIP Code  Unliquidated
QO Disputed
Who incurred the debt? Check one.
LC} Debtor 1 only Type of PRIORITY unsecured claim:
Op
ebtor 2 only C) Domestic support obligations
Q) Debtor 1 and Debtor 2 only :
(2 Taxes and certain other debts you owe the goverment
(J At least one of the debtors and another . . .
O) Claims for death or personal injury while you were
O] Check if this claim is for a community debt intoxicated
OQ) other. Specify
Is the claim subject to offset?
C2 No
UO) Yes
| Last 4 digits of account number 8 $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent
City State ZIP Code (J unliquidated
Oo Disputed
Who incurred the debt? Check one.
CO) Debtor 1 onty Type of PRIORITY unsecured claim:
Op
QO neh 2 only (3) Domestic support obligations
ebtor 1 and Debtor 2 only () Taxes and certain other debts you owe the govemment
CJ At least one of the debtors and another . .
O) Claims for death or personal injury while you were
() Check if this claim is for a community debt intoxicated
O) Other. Specify
Is the claim subject to offset?
LU No
C) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of
Case 19-11190-TWD Doci Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 25 of 63
Debtor 1 Benjamin Paul rhomali ennedy

First Name Middle Name Last Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

Case @ (if known),

 

3. Do any creditors have nonpriority unsecured claims against you?

| Yes

claims fill out the Continuation Page of Part 2.

ti | American Express

Nonpriority Creditors Name

 

 

 

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Last 4 digits of account number 5 0 0 5
When was the debt incurred? FOIS — 2H (f-

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured

 

34,279.04

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

C) Debtor 1 only

C) Debtor 2 only

V Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

VU No
CI) Yes

 

QO Contingent
OQ) Unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

LJ Student loans

CQ) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

Wf Other. Specify Debit/Credit Card

PO Box 410
Number Street
Ramsey NJ 07446
City State ZIP Code As of the date you file, the claim is: Check all that apply.
O Contingent
Who incurred the debt? Check one. CQ Untiquidated
4 Debtor 1 only Q) disputed
Q) Debtor 2 only
(] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another (J Student loans
O Check if this claim is fora community debt (3 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? LJ Debts to pension or profit-sharing plans, and other similar debts
QO No Od other. Specity_credit card
LI) Yes
#2_| Back and Neck Pain Center Last 4 digits of accountnumber_ 3 0 6 1 g_— 201.30
Nonpriority Creditor’s Name When was the debt incurred? L2OE
608 8th Avenue S
Number Street
Seattle WA 98104 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
Who incurred the debt? Check one. QO) unliquidated
A Debtor 1 only Q Disputed
O) Debtor 2 only .
2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2) At least one of the debtors and another (2 Student loans
sean: og . (J Obligations arising out of a separation agreement or divorce
C) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other similar debts
LI No W other. Specity_ Medical
C) ves
4.3 .
Bank of America Last 4 digits of accountnumber 8 7 7 _6 17.689.09
Nonpriority Creditors Name : ° $___——=
When was the debt incurred? Ol - 20IF
100 North Tryon Street
Number Street
Charlotte
City NC 28202 As of the date you file, the claim is: Check all that apply.

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page __ of

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 26 of 63
Debtor 4 Benjamin Paul shomallMnnedy

 

 

 

 

First Name Middle Name Last Name

Case @ (if known),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

44 _
Capitol One Last 4 digits of account number 8 0 8 3 $ 9,871.20
Nonpriority Creditor’s Name
When was the debt incurred? (¢/(- — 1/18
PO Box 30285
ite omer As of the date you file, the claim is: Check all that app!
Salt Lake City UT 84130 y . : poly.
City State ZIP Code Q) Contingent
. QO) unliquidated
Who incurred the debt? Check one. O disputed
| Debtor 1 only
CQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O student loans
At least one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
L) Check if this claim is for a community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? i other. Specity_ credit card
wf No
) Yes
45] igi 10 2 3 2,749.90,
Chase Last 4 digits of accountnumber | Vo 4 9 $ .
Nonpriority Creditors Name .
When was the debt incurred? it — 2 7S
PO Box 36520
Number Street
at As of the date you file, the claim is: Check all that apply.
Louisville KY 40233 y rey
City State ZIP Code C) Contingent
C) Unliquidated
Who incurred the debt? Check one. OQ Disputed
vf Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only QO student loans
At least one of the debtors and another im Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. Specity_ credit card
vf No
CO Yes
46 5 15,510.67
igi 7 6 7 Y TT
CITI Last 4 digits of account number 7 6 7 9
Nonpriority Creditor's Name
When was the debt incurred? -20 -
PO Box 6077 200F - 2018
wunber Street As of the date you file, the claim is: Check all that apply
Sioux Falls sD 57117 youn
City State ZIP Code QO Contingent
) Unliquidated
Who incurred the debt? Check one. ©) disputed
UV Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
(} Debtor 1 and Debtor 2 only © Student loans
C1 Atleast one of the debtors and another a Obiigations arising out of a separation agreement or divorce that
Q Check if this claim is for a community debt you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? | Other. Specify_Credit card
| No
O) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 27 of 63
Debtor 1

:
i
i
i

 

 

 

 

 

 

First Name Middle Name Last Name

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim;
4 ie Last 4 digits of account number 3. 4 3 0 ;
Citi Card 9 +. Se. ¢_ 4,114.00.
Nonpriority Creditor’s Name Zo! s :
i i ? oI —| ,
' PO Box 6077 When was the debt incurred
Number Street As of the date you file, the claim is: Check : II that appl
Sioux Falls SD 57117 $ of the date you Hile, : all that apply.
. - City State ZIP Code Q Contingent
: ; OQ) unliquidated :
Who incurred the debt? Check one. O) Disputed :
‘ Q vebior + only :
: YU Debtor 2 only Type of NONPRIORITY unsecured claim: 3
5 Debtor 1 and Debtor 2 only CO Student loans
, At least one of the debtors and another (2 Obligations arising out of a separation agreement or divorce that
: O Check if this claim is forac ity debt you did not report as priority claims :
’ ' s ommunity de U) Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? Wi other. specity_credit card
(No
QO Yes
+8) igi imber 9 1 0 0 9,591.71
Discover Card Last 4 digits of accountnumber 9 1 0 U s 9,591.
Nonpriority Creditors Name Ss :
When was the debt incurred? @O ce -Tt :
PO Box 6103 —
Number Street As of the date you file, the claim is: Check all that app!
Carol Stream ILL 60197 oe pp
City State ZIP Code U2 Contingent
; unliquidated
Who incurred the debt? Check one. Q disputed
vf Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY: unsecured claim:
a Debtor 1 and Debtor 2 only CO Student loans
At least one of the debtors and another (1 Obligations arising out of a separation agreement or divorce that
te aise sa . did not report as priority claims -
C2 Check if this ct f you
if this claim is for a community debt (CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? MA other. Specity_credit card
: of No
: U) Yes
4a} 3490 5 192,655.1
Federal Student Aid Last 4 digits of account number oO 4 9 YU
i Nonpriority Creditor's Name 0 4
When was the debt incurred? 206 — (F
PO Box 7657 :
Number Street :
As of the date you file, the claim is: Check aij that apply. 3
London KY 40742 y py
City State ZIP Code ( Contingent ‘

Who incurred the debt? Check one.

U Debtor 1 only

C) Debtor 2 only

(2 Debtor 4 and Debtor 2 only

CU) Atleast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

a No
U) Yes

CI Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

wf ‘Student loans

CJ Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts
CJ other. Specify

Oficial Ferm d254_11190-TWD DdtheueE FeHR OH EM SGU TAS 12:01:13 Pg. 28 of 639° —"—
Debtor 1

 

First Name Middle Name Last Name

Case @. (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

:
:

 

 

 

 

 

 

 

; After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4h -
Immediate Clinic Last 4 digits of account number oO 6 tT 6 $ 324.87
i Nonpriority Creditors Name
: 1512 Broadway When was the debt incurred? 3, oO
jp Nunber et As of the date you file, the claim is: Check all that appt
: s of the date you file, : Check a .
‘Seattle WA 98122 ¥ pe
| City State ZIP Code Cl) Contingent
: ; U) Unliquidated
| Who incurred the debt? Check one. © Disputed
VF Debtor 4 only
| OQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
| 4 Debtor 1 and Debtor 2 only QO) Student loans
| At least one of the debtors and another O Obligations arising out of a separation agreement or divorce that i
: OQ) Check if this claim is for a community debt you did not report as priority claims |
i OO Debts to pension or profit-sharing plans, and other similar debts i
i Is the claim subject to offset? 0 other. Specify_ Medical
wf No
QU) Yes
4
Killian, Rob M.D. Last 4 digits of accountnumber O 6 O 7. ¢ 102.00
: Nonpriority Creditors Name L205 °
When was the debt incurred?
901 Boren Avenue #712
Number Street As of the date you file, the claim is: Check alf that apply.
Ss s : .
| Seattle WA _ 98168 y !
i City State ZIP Code QO Contingent
OQ) unliquidated
Who incurred the debt? Check one. © bisputed
Q) Debtor 1 only
W,§ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as priority claims
: C2 Debts to pension or profit-sharing plans, and other similar debts i
i Is the claim subject to offset? WM other. Specity_ Medical
af No
L) Yes
4e4| 099 3 s__ 193.00)
Lab Corp Last 4 digits of accountnumber Yo 9 9 9
: Nonpriority Creditors Name . |
When was the debt incurred? lst {ao i
PO Box 2240 Ix ;
Number Steet As of the date you file, the claim is: Check all that apply
: s of the , : . :
Burlington NC 27216 ve i
City State ZiP Code O contingent \
| Unliquidated
Who incurred the debt? Check one. © Disputed
() Debtor 1 only
C1) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only U2 Student loans
i At least one of the debtors and another ) Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims
i C) Debts to pension or profit-sharing plans, and other similar debts
: Is the claim subject to offset? Wi other. Specify Medical
i a No
: O Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of_

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 29 of 63
Debtor 1

 

First Name Middie Name Last Name

Case number (i known)

Ea NONPRIORITY Unsecured Claims — Continuation Page

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After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
Ae .
Navient Last 4 digits of account number 6 6 8. 9° 3 200,934.0;
Nonpriority Creditors Name i
PO Box 9533 When was the debt incurred? AOI - 201K
Numb Street :
Wilke s-B arre PA 18773 As of the date you file, the claim is: Check all that apply.
City State ZIP Code L) Contingent !
GO Unliquidated
Who incurred the debt? Check one. OQ) pispuied
t () Debtor 1 only /
: [ff Debtor 2 only Type of NONPRIORITY unsecured claim:
; (3 Debtor 1 and Debtor 2 only wv Student loans
C1 Atleast one of the debtors and another (1 Obligations arising out of a separation agreement or divorce that :
scant aoe : . did not report as priority claims :
CD Check if this cl f b you
: ; tris claim is tora community debt Q] Debts to pension or profit-sharing plans, and other similar debts :
. Is the claim subject to offset? oO Other. Specify . :
: wf No
: C] Yes '
l4al -
: Pychiatric Medicine Associates Last 4 digits of account number O N | C $ 75.76 ;
i Nonpriority Creditors Name :
When was the debt incurred? ac, |
1505 Westlake Avenue North #920
Number Street ° se :
Seattle WA 98109 As of the date you file, the claim is: Check all that apply. :
City State ZIP Code OQ) Contingent
U) unliquidated
Who incurred the debt? Check one. 0 bisputed
LI Debtor 4 only
Mf debtor 2 only , Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only LI Student joans i
C1 Atleast one of the debtors and another LI Obligations arising out of a separation agreement or divorce that i
: soaps . . did not report as priority claims :
OQ) Check if this ct f you
i . eck if this claim is for a community debt (2 Debts to pension or profit-sharing plans, and other similar debts
i Is the claim subject to offset? W other. Specify MEDICAL :
: a No :
CI Yes
(454 ¢__ 152.50.
i Seattle Eye Care Last 4 digits of account number 9 7 6 9. :

 

Nonpriority Creditors Name

1600 Jefferson Street Suite 202

 

 

Number Street
: Seattle. , WA 98122
City State ZIP Code

Who incurred the debt? Check one.

U Debtor 1 only

C) Debtor 2 only

Q Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

7) No
U2 Yes

When was the debt incurred? G 20,

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q Unliquidated
UO Disputed

Type of NONPRIORITY unsecured claim:

(J student loans

(J Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U2 Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify. MEDICAL

 

Official Ferd PS45.11190-TWD Dd heculetfe Grete Tete TGs TAS 12:01:13 Pg. 30 of 63°29 —F—
Debtor 1

 

First Name Middle Name Last Name

Case number (i known),

icle@ee Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

4a

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

University of Washington Last 4 digits of account number 4 AW > A_ 3_7,545.00
Nonpriority Creditors Name (3
: Wh s the debt incurred? J0l l - t.
i 1400 NE Campus Parkway enwa
j Number Street .
| Seattle wa 98195 As of the date you file, the claim is: Check all that apply.
City State ZIP Code U2 Contingent
. ) Untiquidated -
Who incurred the debt? Check one. O) Disputed
CL] Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim: :
j
4 Debtor 1 and Debtor 2 only wv Student loans
i At least one of the debtors and another im Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims a
OU Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CJ Other. Specify
wi No
QC) Yes
|| Last 4 digits of account number $
Nonpriority Creditors Name
| When was the debt incurred?
Number Street . ee
As of the date you file, the claim is: Check all that apply.
_ City State ZIP Code QQ Contingent ,
O Unliquidated
Who incurred the debt? Check one. O} Disputed
; Q) Debtor 1 only
C1) Debtor 2 only Type of NONPRIORITY unsecured claim: i
i 5 Debtor 1 and Debtor 2 only ) Student loans i
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that |
O) Check if this claim is for a community debt you did not report as priority claims oe ;
i C3 Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? U1) Other. Specify i
No
C) Yes
|| s
: Last 4 digits of account number ___ _
i Nonpriority Creditor’s Name
When was the debt incurred?
Numbe Street
: umer ee As of the date you file, the claim is: Check all that apply. i
i City State ZIP Code LD Contingent
: . Q Unliquidated
| Who incurred the debt? Check one. OQ Disputed
| U) Debtor 4 only
| UO Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C student toans
i At least one of the debtors and another O Obligations arising out of a separation agreement or divorce that :
sane a . did not report as priority claims i
O) Check if this claim is for a community debt you
i y QO) Debts to pension or profit-sharing plans, and other similar debts |
| Is the claim subject to offset? (] Other. Specify |
i ~ OINo |
i O Yes i
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims pageS_ of

Case 19-11190-TWD Doc1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 31 of 63

 
Debtor1 Benjamin Paul ThomMennedy

Last Name

First Name Middie Name

Case number (f known).

Ee List Others to Be Notified About a Debt That You Already Listed .

 

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|

, 6 Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

i 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
i additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

,

Chapman Financial Services

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
PO Box 7100 Line 4.10 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street 4 Part 2: Creditors with Nonpriority Unsecured Claims
igi 117 0
Couer D'Alene TP) 83816 Last 4 digits of accountnumber_ |! =! =f VU
__ City . State ziPCode
Client Services Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3451 Harry S. Truman Blvd. Line 4.5 _ of (Check one): L Part 1: Creditors with Priority Unsecured Claims
© Number Street Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Saint Charles MO ___ 63301 Last 4 digits of accountnumber_1 0 2 3
City State ZIP Code
Coast Professional Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 2876 Line _4.5_ of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Street WW Part 2: Creditors with Nonpriority Unsecured
Claims
West Monroe LA 71294 Last 4 digits of account number _4 3 5 1
City . State ZIP Code cesmnsanss .
Credit Control LLC. On which entry in Part 1 or Part 2 did you list the original creditor?
Name :
Line 4.3 of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street (df Part 2: Creditors with Nonpriority Unsecured
PO Box 546 Claims
Hazelwood MO 63042 Last 4 digits of account number 2 3 4 6
City State ZIP Code
GC Services Limited On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 46960 Line 4.6 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street &4 Part 2: Creditors with Nonpriority Unsecured
Claims
Saint Louis MO 63146 Last 4 digits of account number_5 0 0 5 -
City State ZIP Code.
LCA Collections On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line 4.12 of (Check one): CU Part 1: Creditors with Priority Unsecured Claims
Number Street &4 Part 2: Creditors with Nonpriority Unsecured
PO Box 2240 Claims
Burlington NC 27216 Last 4 digits of account number_9 9 9 3
City State ZIP Code
Radius On which entry in Part 1 or Part 2 did you list the original creditor?
PO Box 390846 Line 4.4 of (Check one): 1 Part 4: Creditors with Priority Unsecured Claims
Number Street . . oe
@ Part 2: Creditors with Nonpriority Unsecured
Claims
Minneapolis MN 55439
City P State TIP Code Last 4 4 digits of account number 8 0 8 3

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01: 13 Pg. 32 of 63

 

 

 

page__of___
Debtor 1 Benjamin P rhomas A rea

Case number (if known)

 

First Name Middle Name

Last Name

List Others to Be Notified About a Debt That You Already Listed

 

: 8. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

 

 

 

 

 

 

 

 

 

 

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
i 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
| additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

McCarthy Burgess Walt On which entry in Part 1 or Part 2 did you list the original creditor?
Name
26000 Cannon Road Line 4.6 of (Check one): OQ Part 1: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured Claims
igi 4 6 8 9
Cleveland OH 44146 Last 4 digits of account number _* 0 9 7
City vee vee State ZIP Code a . cats tune ts muon oe
Sherman Originator III On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2215-B Renaissance Dr Line 4.6 of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number “Street A Part 2: Creditors with Nonpriority Unsecured
Claims
Las Vegas NV___89119 Last 4 digits of accountnumber_7 6 7 9
City State ZIP Code
Suttel & Hammer Attorneys On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box C-90006 Line 4.8 of (Check one): O Part 1: Creditors with Priority Unsecured Ciaims
Number Street Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Bellevue WA 98009 Last 4 * digits of account number 9 1 8 _0
0 EY ene wee State ZIP Code a « seco as a
Williams and Fudge Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
300 Chatham Ave Line 4.16 of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street (Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Rock Hill SC 29730 Last 4 digits of account number 9 1 2 2
City State ZIP Code
Cavalry On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 520 Line 4.7 of (Check one). Q Part 1: Creditors with Priority Unsecured Claims
Number Street WM Part 2: Creditors with Nonpriority Unsecured
Claims
Valhalla NY 10595 Last 4 digits of account number_1 2 9 1
City State ZIP Code
MRS Associates On which entry in Part 1 or Part 2 did‘you list the original creditor?
Name
1930 Olney Avenue Line 4.5 of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number Street MM Part 2: Creditors with Nonpriority Unsecured
; Claims
Cherry Hill NC 08003 Last 4 digits of accountnumber_1 0 2 3
City State ZIP Code
Machol and Johannes LLC On which entry in Part 1 or Part 2 did you list the original creditor?
700 17th Street Line 4.4 _ of (Check one): ) Part 1: Creditors with Priority Unsecured Claims
Number Street . . se
. @ Part 2: Creditors with Nonpriority Unsecured
Suite 200 Claims
Denver co 80202
City State Last 4 digits of account number 7 3 2 4

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

ZIP Code

 

 

 

page __

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 33 of 63
Debtor 1 Benjamin Paul _Ti@fias-Kennedy Case number (known)

First Name Middle Name Last Name

 

List Others to Be Notified About a Debt That You Already Listed

 

{
| §. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

i 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
| additional creditors here. !f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

i

Nationwide Credit, Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 14581 Line 4.1 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street 4 Part 2: Creditors with Nonpriority Unsecured Claims
; igi 2 3 0 4
Des Moines IA 50306 Last 4 digits of account number _< YY Yoo
.. City State ZIP Code . oe. ;
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
_—— - Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (] Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number
City . __ State ZIPCode ve cee .
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): OQ Part 1: Creditors with Priority Unsecured Claims
Number Street O Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits ofaccountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of account number ___ ee
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of accountnumber_
City State ZIP Code
Name On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): U) Part 1: Creditors with Priority Unsecured Claims
Number Street
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
City State TIP Code Last 4 digits of account number____
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Ciaims page of

Case 19-11190-TWD Doc1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 34 of 63
Debtor 1 Benjamin P Thomas MP recy

First Name Middle Name Last Name

ea Add the Amounts for Each Type of Unsecured Claim

Case number (if known)

' 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

i Total claims 6a. Domestic support obligations

|
from Part 1 65 Taxes and certain other debts you owe the

government

i 6c. Claims for death or personal injury while you were
i intoxicated

| 6d. Other. Add all other priority unsecured claims.
i Write that amount here.

6e. Total. Add lines 6a through 6d.

: Total claims 6f. Student loans

from Part 2 6g. Obligations arising out of a separation agreement

a or divorce that you did not report as priority
i claims

Gh. Debts to pension or profit-sharing plans, and other
similar debts

Gi. Other. Add _all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

Gj.

 

 

 

 

 

 

Total claim
s (O00
sO
5 0.00
+5 0.00
5 0.00
Total claim
$ 401,134.00
$ 0.00
$ 0.00
+5 64,855.14
§ 465,989.14

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page__ of

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 35 of 63
Fill in this information to identify your case:

 

 

 

Debtor Benjamin Paul Thomas-Kennedy

_ First Name . Middle Name Last Name
Debtor 2 Nicole Suzanne Thomas-Kennedy
(Spouse If filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: Western District of Washington

Case number

(If known) C) Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases? ;
CJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Fi Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

Person or company with whom you have the contract or lease State what the contract or lease is for
rors
|

Name

1206 E. Jefferson #402
Number Street

Seattle Wa 98122
State ZIP Code

 

 

F Capitol Hill Housing - The Jefferson Two bedroom apartment residence
i

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

&* Centurylink Internet
; Name
| 1000 Centurylink Drive
i Number Street
| Monroe LA 71203
City vs | A we ovens rn
12.3) . : : :
23 Benjamin Palmer - T-Mobile phone family plan Cell phone data
; Name
| 1726 15th Avenue
Number Street
Seattle Wa 98122
t City State ZIP Code ns . —
24
_
: Name -
Number Street
| .
“CY _ State

   
 

 

 

 

” Name

| Number Street

|

: City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of___

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 36 of 63
Case number (if known)

Debtor1 Benjamin Paul Thomas-Kennedy

 

First Name

Person or company with whom you have the contract or lease

Name

Middle Name

Last Name

Additional Page if You Have More Contracts or Leases

 

Number

Street

 

City

State

He i ae

What the contract or lease is for

 

 

Name

 

Number

Street

 

City

 

State

ZIP Code

 

Name

|

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

| City

 

State

Sa ORES va a

ZIP Code

 

a

 

 

 

 

 

Name

 

Number

_ Street

 

City

State

 

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

case

 

 

 

Name

 

Number

Street

 

City

State

i SECS A ELSES LEE EEERROO EER aN Tne PY Boe nd

ZIP Code

 

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econ

 

sees 2

 

Name

 

 

Number

Street

 

City

Ersrrtsontessne

_, State

ZIP Code

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13

page__—of_—

Pg. 37 of 63

 
Fill in this information to identify your case:

 

Debtor 1 Benjamin Paul Thomas-Kennedy

 

 

First Name Middle Name Last Name
Debtor 2 Nicole Suzanne Thomas-Kennedy
(Spouse, if filing) First Name Middie Name __ Last Name

United States Bankruptcy Court for the: Western District of Washington

Case number
(If known)

 

CJ Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors a 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
| MA No .
i CQ) Yes

|
; 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wi No. Go to line 3.
UL) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

LJ No

LI) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

i Number Street

 

i City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

: )
i

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

Check all schedules that apply:
3.1 i
- {2 Schedule D, line :
Name |
O) Schedule E/F, line :
! Number Street LJ Schedule G, line |
Yo cae pe State ctnte res tn nam LIP Code wa cee ev enen |
3.2
C) Schedule D, line i
Name i
i OU) Schedule E/F, line
Number Street () Schedule G, line
CRY ane co eee State __.2IP Code sea . awe en
3.3] -
CJ Schedule D, line :
Name i
Q) Schedule E/F, line ’
Number Street QO Schedule G, line
Official Form 106H Schedule H: Your Codebtors ‘ page 1tof_

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 38 of 63
Debtor 1

First Name

Benjamin Paul Thomas-Kennedy

Middle Name

Last Name

BE cisions Page to List More Codebtors

i
| ‘ Column 1: Your codebtor

Case number (if known)

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Q) Schedule D, line
| Name
: () Schedule E/F, line
/ .
: Number Street QJ Schedule G, line
Cy... State one ZIP Code,
P|
a UO Schedule D, line
: jame
: Q Schedule E/F, line
Number Street (3 Schedule G, line
ply State ZIP Code
|
Q) Schedule D, line
Name —_
i LJ Schedule E/F, line i
Number Street QO) Schedule G, line _.
|
City State ZIP Cotle :
| |
(2 Schedule D, line
Name y
QO) Schedule E/F, line
Number Street ( Schedule G, line
City ve. State ee ZIP Code
P|
i (J Schedule D, line
Name —__
J Schedule E/F, line
Number Street UI Schedule G, line
|
_ Silty, pone .. state aww ZIP Code
5 |
(3 Schedule D, line :
Name
O Schedule E/F, line
Number Street (2 Schedule G, line
oY ee at tn nearer ne HAE ZIP Code .
Q) Schedule D, line
: Name ;
: ) Schedule E/F, line
| Number Steet O Sthedule G, line
: i
i ty State ZIP Code ence acne i “i
b.|
Q Schedule D, line
: Name /
| O Schedule E/F, line |
: Number Street (1 Schedule G, line |
|
j :
\ City State ZIP Code i

 

Official Form 106H
Case 19-11190-TWD

Schedule H: Your Codebtors

page of__—

Doc1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 39 of 63
Fill in this information to identify your case:

Debtor 4 Benjamin Paul Thomas-Kennedy

 

First Name Middle Name Last Name

Debtor 2 Nicole Suzanne Thomas-Kennedy

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of | Washington

Case number Check if this is:
(If known) ap
LJ An amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 WM 7 DD/ YYYY
Schedule I: Your Income 42/45

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

5
:

 

 

 

1. Fill in your employment .
information. Debtor 1 Debtor 2 or non-filing spouse

 

If you have more than one job,

attach a separate page with
| information about additional Employment status Q) Employed wi Employed
: employers. wi Notemployed | LJ Not employed

include part-time, seasonal, or
self-employed work.

 

 

 

 

 

 

i Public Defender
| . . ti
- Occupation may include student Occupation
/ OF homemaker, if it applies.
Employer's name King Co. Dept. of Public Defense
| .
Employer's address 710 Second Avenue
| Number Street Number Street
|
Seattle Wa 98122
City State ZIP Code City State ZIP Code
How long employed there? 2.5 years 2.5 years

Era Give Details About Monthly Income

| Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
| Spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

 

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ g 6,734.58
; 3. Estimate and list monthly overtime pay. 3. +§ + $
4. Calculate gross income. Add line 2 + line 3. 4.) $ $__ 6,734.58
Official Form 1061 Schedule I: Your Income page 1

Case 19-11190-TWD Doci Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 40 of 63
Debtor 1 Benjamin Paul Thomas-Kennedy

|
}
|
|

 

First Name Middle Name Last Name

Copy line 4 Were... ccc ccc cc secceseaceseasscereneesesesesseseaseseaescsrcesseeeestsceeeseenes > 4.

| 5. List all payroll deductions:

|

 

10.

/ 12.

13.Do you expect an increase or decrease within the year after you file this form?

i

Official Form 1061

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

 

. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.
. Calculate total monthly take-home pay. Subtract line 6 from line 4.

. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
8e.

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

8g. Pension or retirement income

 

8h. Other monthly income. Specify: 0

 

. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.

Caiculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

8f.
8g.
8h.

9.

10.

. State all other regular contributions to the expenses that you list in Schedule J.

Case number (if known).

For Debtor 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already inciuded in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

L) No.

 

 

 

For Debtor 2or
non-filing spouse
$ $__6, 734.58
|
$ 0.00 $ 927.54
|
$ 0.00 $ 230.32 |
$ 0.00 $ 0.00
$ 0.00 $ 0.00
$ 0.00 $ 4.48
$ 0.00 $ 0.00
$ 0.00 $ 52.84
+5 0.00 +3 0.00
$ 0.00 g 1,215.18
$ 0.00 $
|
$ 0.00 $ 0.00
$ 0.00 $ 0.00
|
|
$ 0.00 $ 0.00
$ “0.00 $ 0.00 |
$ 0.00 $ 0.00
$ 0.00 $ 0.00 |
$ 0.00 $ 0.00 |
+§ 0.00 +3 0.00 |
$ 0.00 | $ 0.00
§ 0.00|/+] s§ 5,519.40 ls 5,519.40
11.# $ 0.00
42. ($5,519.40
Combined

monthly income

 

 

(4 Yes. Explain: |D1 will work after finishing grad program in the spring/D2 will reduce hours by nearly half at that time.

 

 

 

Schedule I: Your Income

page 2

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 41 of 63
Fill in this information to identify your case:

Debtor 1 Benjamin Paul Thomas-Kenned teu: '
First Name Middle Name y Last Name Check if this IS:

Debtor 2 Nicole Suzanne Thomas-Kennedy

LJ An amended filing

LIA supplement showing postpetition chapter 13
expenses as of the following date:

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Washington

Groom et MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses as

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

part: | Describe Your Household

1. Is this a joint case?

LY No. Go to line 2.
A Yes. Does Debtor 2 live in a separate household?

Wi No

() Yes. Debtor 2 must file Official Form 1064-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? CL) No .
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and of Yes. Fill out this information for ‘Debtor 1 or Debtor 2 age _ with you?
Debtor 2. each dependent..........0..0.0.000000. 0
. No
Do not state the dependents’ Daughter 7 hy.
names. es
Q) No
CL) Yes
LJ No
C) Yes
Ne
LC] Yes
CL) No
CL} Yes
3. Do your expenses include wi No

expenses of people other than
yourself and your dependents? O Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ 4 233.00

any rent for the ground or lot. 4. ee
ff not included in line 4:
4a. Real estate taxes fa § 0.00
4b. Property, homeowner’s, or renter’s insurance . 4b. g_—C—C~000
4c. Home maintenance, repair, and upkeep expenses 4c. $0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

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Debtor 1 Benjamin Paul Thomas-Kennedy

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

First Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Intemet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Chiidcare and children’s education costs

Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a, Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify: 0
17d. Other. Specify:

 

Case number (if known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify: 0

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

‘6a.

6b.

6c.

6d.

10.

11,

12.

14.

15a.
15b.
15c.

16d.

16.

17a.

17b.

17c.

17d.

18.

19.

20a.

20b.

20c.

20d.

20e.

Rf AH fH ww

Your expenses

PF F Ff F FF Ff FF

RA Ff Ff

fF FH Ff

 

0.00

0.00
111.00

166.00
0.00

800.00
760.00
400.00
250.00
200.00

275.00

200.00
0.00

0.00
0.00

75.00
0.00

0.00

0.00
0.00
0.00
0.00

0.00

0.00

0.00

0.00

0.00

0.00
0.00

page 2

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 43 of 63
Debtor 1 Benjamin Paul Thomas-Kennedy

First Name Middle Name Last Name

21. Other. Specify; rent for rehearsal space

 

22a. Add lines 4 through 21.

C) No.

Case number (if known)

 

 

 

 

 

 

 

 

21. +3 107.00
22. Caiculate your monthly expenses.
22a. | § 4,576.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | § 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22. | § 4,576.00
23. Calculate your monthly net income.
$ 5,519.40
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a.
23b. Copy your monthly expenses from line 22c above. 23b, _¢ 4,576.00
23c. Subtract your monthly expenses from your monthly income. 943.40
The result is your monthly net income. 23e. $ -
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
Wl Yes. | Explain here: Increase: Will need to move out of rent controlled apartment next year/expecting rental
: increase.
Will need to buy a car if current one fails.
Official Form 106J Schedule J: Your Expenses page 3

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 44 of 63

 

 
Fillin this information to identify your case:

Debtor 4 Benjamin Paul Thomas-Kennedy

First Name Middle Name Last Name

Debtor 2 Nicole Suzanne Thomas-Kennedy

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Washington

Case number
(If known)

 

 

L) Check if this is an

 

Official Form 106Dec

 

amended filing

Declaration About an Individual Debtor’s Schedules 12118

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ie =

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms? ,

Wi No

QQ Yes. Name of person

 

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the ‘summary and sched fl ules filed with this declaration and

that they are true and correct.

 

‘Bak +f

Signature of Debtor 1

 

 

 

Pafphure of Debtor 2

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 45 of 63
Fill in this information to identify your case:

Debtor 1 Benjamin Paul Thomas-Kennedy

First Name Middle Name Last Name

Debtor 2 Nicole Suzanne Thomas-Kennedy

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Washington

Case number
(If known) LJ Check if this is an
amended filing

 

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

eo Give Details About Your Marital Status and Where You Lived Before

 

- 1. What is your current marital status?
wi Married
CJ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

W No

CJ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
C) same as Debtor 1 : CL] same as Debtor 1
: From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
C same as Debtor 1 / (LJ same as Debtor 1
From - From
Number Street Number Street
To ; To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
. states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wf No

UO) Yes. Make sure you fill out Schedule H: Your Codebiors (Official Form 106H).

Ez Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor 1

First Name Middle Name

Benjamin Paul Thomas-Kennedy

Last Name

Case number (if known).

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

Wi No

C) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For fast calendar year:

(January 1 to December 31,2018 )
YYYY

For the calendar year before that:

(January 1 to December 31,2017 )
YYYY

Sources of income
Check all that apply.

QQ) Wages, commissions,
bonuses, tips

C) Operating a business

im Wages, commissions,
bonuses, tips

Q Operating a business

U) Wages, commissions,
bonuses, tips

Q Operating a business

Gross income

(before deductions and
exclusions)

$ 0.00

$ 0.00

Sources of income .
Check all that apply.

wi Wages, commissions,
bonuses, tips

Q Operating a business

wf Wages, commissions,
bonuses, tips

) Operating a business

wh Wages, commissions,

. bonuses, tips
$ 0.00 g

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Wf No

C) Yes. Fill in the details.

 

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018)
YYYY

For the calendar year before that:

(January 1 to December 31,2017__)
YYYY

Official Form 107

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

 

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

Gross income

(before deductions and
exclusions) ‘

¢ __ 12,433.00

$ 69,972.50

¢ 62,581.48

Gross income from
each source

(before deductions and
exclusions)

page 2

Pg. 47 of 63

i
Debtor 1 Benjamin Paul Thomas-Kennedy . Case number (if known)

First Name Middle Name Last Name

 

Be List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
CJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

LI No. Go to line 7. :

wf Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

wf No. Go to line 7.
U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment ,
= $ $ | Mortgage
Creditors Name
LY car
Number Street Q Credit card

(J Loan repayment

 

O Suppliers or vendors

 

City State ZIP Code C) other

$. $ (J Mortgage
Q) car

C) credit cara

 

 

Creditors Name

 

Number Street

CJ Loan repayment

 

im Suppliers or vendors

 

 

 

 

 

 

 

- CY other
City State ZIP Code .
- $ $ Mortgage
Creditors Name
QC) car
Number Street CJ credit card
C] Loan repayment
QO Suppliers or vendors
i CL) other
City State ZIP Code
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 48 of 63
Debtor1 Benjamin Paul Thomas-Kennedy

Case number (if known),
First Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

: Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Wi No . , *

L) Yes. List all payments to an insider.

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
- $ $
Insider's Name | :
Number Street : |
' :
City State ZIP Code i :
$ $

 

Insider's Name :

 

Number Street

 

 

City State ZIP Code

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
, an insider?

Include payments on debts guaranteed or cosigned by an insider.

Wf No

Q) Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe __lnclude creditorsname
)
Insider's Name $ $
i
|
Number Street
|
{
i
City State ZIP Code
:
$ $
Insider's Name i
Number Street

 

 

 

Cty, State. ZIP Code

   

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

| Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 49 of 63
First Name

Debtor1 Benjamin Paul Thomas-Kennedy

Case number (if known),
Last Name

mz Identify Legal Actions, Repossessions, and Foreclosures

; 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding? i
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, :

and contract disputes.

Wf No

L) Yes. Fill in the details.

Case fitle

 

 

 

Case number

Case title

 

 

 

 

Case number

 

Nature of the case Court or agency Status of the case ‘

i Court Name Q Pending
i Q On appeal
i i

‘Number — Street LY concluded

City State ZIP Code
: ‘Court Name U Pending i
L) on appeal :
‘Number Street LY concluded

|

 

‘City State ZIP Code

* 40. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

W No. Goto line 11.

LJ Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
$
Creditors Name
Number Explain what happened
QO) Property was repossessed.
Q) Property was foreclosed.
L) Property was garnished.
City State ZIP Code O Property was attached, seized, or levied.
Describe the property Date Value of the property
$
; Creditor’s Name
Number eee ‘
: Explain what happened :
|
L) Property was repossessed.
L] Property was foreclosed.
. City State ZIP Code U1 Property was gamished.
‘ Q) Property was attached, seized, or levied.
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor 1

Benjamin Paul Thomas-Kennedy

Case

 

First Name Middle Name

Last Name

number (if known)

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
; accounts or refuse to make a payment because you owed a debt?

W No

LJ Yes. Fill in the details.

 

Creditor's Name

 

Number Street

 

 

City - State ZIP Code

Describe the action the creditor took

[On cree aes arenas

Last 4 digits of account number: XXXX—___

Date action Amount

was taken

i
}
|
|
|
1
|

- 42. Within 4 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of ‘
creditors, a court-appointed receiver, a custodian, or another official?

wi No
LY Yes

Er List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy,

Wi No

LI Yes. Fill in the details for each gift.

Gifts with a total value of more than $600
per person

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

Gifts with a total value of more than $600
per person

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

Official Form 107

Describe the gifts

Lecce ceoemecnty hw ate ne cent cer tettennumennnimtoeiet

Describe the gifts

Statement of Financial Affairs for Individuals Filing for Bankruptcy

did you give any gifts with a total value of more than $600 per person?

 

Dates you gave Value
the gifts
: $
$
Dates you gave Value
ee ___. the gifts
$
$
page.6

Case 19-11190-TWD Doci1 Filed 04/01/19 Ent. 04/01/19 12:01:13 Pg. 51 of 63
Debtor 1 Benjamin Paul Thomas-Kennedy Case number (known)

First Name Middle Name Last Name

 

_ 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

W No

C] Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity’s Name

 

 

Number Street

 

City State ZIP Code

List Certain Losses

: 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

(J Yes. Fill in the details.

a

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred . aa , loss lost
Include the amount that insurance has paid. List pending insurance

claims on tine 33 of Schedule A/B: Property.

Lecce eae een oe enue cent eteaticetiitint enaeetinnn we we wentace + Locanda am mma sf paeteniant ir ements sp nnienne an ase nmmnttte dennanannseencnine eticnaenmntte mm ad

List Certain Payments or Transfers ‘

 

 

 

 

 

 

 

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
P| No
C) Yes. Fill in the details.
| Description and value of any property transferred Date paymentor Amount of payment
| transfer was
Person Who Was Paid ; nn oe tat nents nae mnie, Made
i . :
Number Street : : $
i : :
|
$
City State ZIP Code i
| :
|
| Email or website address
Person Who Made the Payment, if Not You
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Debtor 4 Benjamin Paul Thomas-Kennedy

Case number (if known),
First Name Middie Name Last Name :

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street i

 

 

City State ZIP Code

 

Email or website address i i

i
|

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wf No

LJ Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
ee ce copper, made

Person Who Was Paid :

Number Street $
|

a $
'
City State ZIPCode | ae _

 

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement. .

WH No

CI Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made
Person Who Received Transfer : | |
i i
Number Street j /
| |
City State ZIP Code
Person's relationship to you
Person Who Received Transfer ! |
Number Street i :
: i i
. i :
City State ZIP Code i . . _ . Oe rc eel
Person’s relationship to you
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

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Debtor 1 Benjamin Paul Thomas-Kennedy Case number Gfknown)

First Name Middle Name Last Name

 

. 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you .
are a beneficiary? (These are often called asset-protection devices.) ,

Wf No

LJ Yes. Fill in the details.

Description and value of the property transferred Date transfer
_ was made 4

 

i
Name of trust : |

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Wi No

CU Yes. Fill in the details.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution
XXXX— CI checking $
O Savings

 

Number Street
QO Money market

 

O Brokerage

 

 

 

my Sat BP Code — Dother__ on . 7
XXXX- C3 checking $
Name of Financial Institution
(2 savings
Number Street ‘ O Money market

O Brokerage

 

QO Other.

 

City State ZiP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
Wi No
C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Who else had access to it? ° Describe the contents . Do you still
pee ee ce vonte sete antnnaecenns saceaee WAVE it?
| /O1 No
i
Name of Financial Institution Name : QO) Yes
i
Number Street Number Street
|
City State ZIP Code :
City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

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Debtor1 Benjamin Paul Thomas-Kennedy Case number (itknown)

First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

CQ Yes. Fill in the details.

 

 

 

Who else has or had access to it? Describe the contents : Do you still
have it?
| i QO No
Name of Storage Facility Name / : ; O ves
Number Street Number Street :

 

CityState ZIP Code

 

 

Siy State ZIP Code

 

Identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

No
CD Yes. Fill in the details.

Where is the property? Vaiue

 

 

I
Owner's Name | $
i

 

Numb Street

 

Number Street

 

 

 

City State ZIP Code

 

 

City . State ZIP Code

| Part 10: ff Give Detalls About Environmental Information

 

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

_ & Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

‘ @ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
: substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

. 24.Has any governmental unit notified you that you may be fiable or potentially liable under or in violation of an environmental law?

Wi No

(CD Yes. Fill in the details.

 

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
: |
Name of site , Govemmental unit |
Number Street Number Street
City State ZIP Code
City State ZIP Code
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Debtor 1

Benjamin Paul Thomas-Kennedy

 

First Name Middle Name

Last Name

25. Have you notified any governmental unit of any release of hazardous material?

WW No

(] Yes. Fill in the details.

Governmental unit

t

 

 

 

 

Name of site Governmental unit
Number Street Number Street
City State ZIP Code
State ZIP Code

City

Case number (if known)

Environmental law, if you know it

Date of notice

 

|
:
i
i
:

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C2 Yes. Fill in the details...

Case title

 

 

Case number

 

 

 

Status of the
Court or agency _ Nature of the case ; _ case
Court Name O Pending
a On appeal
Number Street Q Concluded
City State ZIP Code

a Give Detalls About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

Q A partner in a partnership

QO) An officer, director, or managing executive of a corporation

| QO) An owner of at least 5% of the voting or equity securities of a corporation

w No. None of the above applies. Go to Part 12.
QO) Yes. Check all that apply above and fill in the details below for each business.

 

Business Name

 

Number Street

 

 

State ZIP Code

 

Business Name

 

Number Street

 

 

 

 

City State ZIP Code

Official Form 107

Describe the nature of the business

Describe the nature of the business

Name of accountant or bookkeeper

 

OQ) A member of a limited liability company (LLC) or limited liability partnership (LLP)

 

crest et oe

j

Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

From To

Employer Identification number
Do not include Social Security number or ITIN.

. EIN: -

: From

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Dates business existed

To

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soy

Debtor1 Benjamin Paul Thomas-Kennedy Case number (known)

First Name Middle Name Last Name

 

Employer Identification number
_ Do not include Social Security number or ITIN.

Describe the nature of the business

 

 

Business Name

' BIN: -

 

 

Le Ce ae al
Number Street
umber Stree Name of accountant or bookkeeper Dates business existed
From To

 

‘City State ZIP Code ' |

    

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wi No

LJ Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penaity of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, oyimprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Signature of Debtor 1

 

vate_3/3 1%

Did you attach additional pages to Your Statement of Financial Al ‘airs for Individuals Filing for Bankruptcy (Official Form 107)?

W No
L] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
P| No

L) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

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Fill in this information to identify your case:

Debtor 1 Benjamin Paul Thomas-Kennedy

First Name Middle Name Last Name

Debtor 2 Nicole Suzanne Thomas-Kennedy / “

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Washington

Case number CJ Check if this is an
{If known) amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12:

If you are an individual filing under chapter 7, you must fill out this form if:

™ creditors have claims secured by your property, or

m@ you have leased personal! property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form. .

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property ;
secures a debt? as exempt on Schedule C? :
Creditor's (] Surrender the property. CI No
nee on (J Retain the property and redeem it. L) Yes
rena of W Retain the property and enter into a
securing debt: Reaffirmation Agreement.

L) Retain the property and [explain]: __

 

 

Creditor’s (J Surrender the property. LI No
name: .

- . ; LJ Retain the property and redeem it. CQ) Yes
repety of LJ Retain the property and enter into a
securing debt: : Reaffirmation Agreement.

CJ Retain the property and [explain]:

 

 

Creditor's () Surrender the property. LI No
name:

ae CJ Retain the property and redeem it. OC ves
Drone LI) Retain the property and enter into a

securing debt: Reaffirmation Agreement.

LJ Retain the property and [explain]:

 

 

Creditor’s J Surrender the property. ONo
name: ;

rae L] Retain the property and redeem it. C) Yes
repery or , U Retain the property and enter into a

securing debt: Reaffirmation Agreement.

(J Retain the property and [explain]:

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
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Debtor 1 Benjamin Paul Thomas-Kennedy Case number (if known)

 

First Name Middle Name Last Name

ra List Your Unexpired Personal Property Leases

: For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
: fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
, ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: Capitol Hill Housing Improvement Program WI No

     

 

 

 

 

 

 

L) Yes
Description of leased Leasing Residence/Apartment
property:
Lessor’s name: The Institution Wd No
- sn ssa . we nme omen
Description of leased Musician/Rehearsal Space
property:
Lessor’s name: LI No
Description of leased LI Yes
property:
Lessor’s name: . Uno
woe . Cl Yes
Description of leased
property:
_ Lessor’s name: LJ No
pes ’ L) Yes
Description of leased
property:
Lessor’sname: ~ C) No
Description of leased
property:
Lessor’s name: “LI No
L} Yes

   

Description of leased
property:

 

Sign Below

Under penalty of perjury, | declare that | have indicated my intentio
personal property that is subject to an unexpired lease.

   

bout any property of my estate that secures a debt and any

  

 

 

 

x Cc. x
Signature of Debtoy 1 : Gighature of
Date S
MM7 DD
Official Form 108 Statement of Intention for Individuais Filing Under Chapter 7 / page 2

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MAILING LIST

American Express
PO Box 410
Ramsey, NJ 07446

Back and Neck Pain Center
608 8th Avenue South
Seattle, Wa 98104

Bank of America
100 North Tryon Street
Charlotte, NC 28202

Capitol One
PO Box 30285
Salt Lake City, UT 84130

Chase
PO Box 36520
Louisville, KY 40233

CIT) Card
PO Box 6077
Sioux Falls, SD 57117

Discover Card
PO Box 6103
Caroll Stream, ILL 60197

Federal Student Aid
PO Box 7657
London, KY 40742

Immediate Clinic
1512 Broadway
Seatile, WA 98168

Dr. Rob Killian
901 Boren Avenue #712
Seattle, WA 98168

Lab Corp
PO Box 2240
Burlington, NC 27216

Navient
PO Box 9533
Wilkes-Barre, PA 18773

Psychiatric Medicine and Associates
1505 Westlake Ave North #920
Seattle, WA 98109

Seattle Eye Care

1600 Jefferson St Suite 202
Seattle, WA 98122

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University of Washington
1400 NE Campus Parkway
Seattle, WA 98195

Cavalry
PO Box 520
Valhalla, NY 10595

Chapman Financial Services
PO Box 7100
Couer D'Alene, ID 83816

Client Services Inc.
3451 Harry Truman Boulevard
St. Charles, MO 63301

Coast Professionals Inc
PO Box 2876
West Monroe, LA 71294

Credit Control LLC
PO Box 546
Hazelwood, MO 63042

GC Services Limited
PO Box 46960
Saint Louis, MO 63146

LCA Collections
PO Box 2240
Burlington, NC 27216

Machol and Johannes LLC
700 17th Street Suite 200
Denver, CO 80202

McCarthy Burgess Walt
Attorney at Law

2600 Cannon Road
Cleveland, OH 44146

MRS Associates
1930 Olney Avenue
Cherry Hill, NC 08003

Nationwide Credit Inc
PO Box 14581
Des Moines, IA 50306

Radius

PO Box 390846
Minneapolis, MN 55439
Sherman Originator Il
22215-B Renaissance Drive
Las Vegas, NV 891219

Suttel and Hammer

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Attorney at Law
PO Box C-90006
Bellevue, WA 98009

Williams and Fudge Inc.

300 Chatham Avenue
Rock Hill, SC 29730

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